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                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

                                      )
 TABATHA JACKSON, et al.,             )
                                      )    CASE NO.: 1:20-cv-02649
       Plaintiff,                     )
                                      )
       vs.                            )    JUDGE: CHARLES E. FLEMING
                                      )
 CUYAHOGA COUNTY, OHIO, et al.        )
                                      )
       Defendants.                    )
                                      )
                                      )
______________________________________________________________________________

                      DEFENDANT CUYAHOGA COUNTY’S
     RESPONSE TO PLAINTIFF’S NOTICE OF DISMISSAL AND REQUEST FOR
                                CLARIFICATION
_____________________________________________________________________________

       Now comes Defendant Cuyahoga County (“the County”) and respectfully files the

following response to “Plaintiffs’ Notice of Dismissal of Class Claims Only,” ECF # 56.1

       Per the Court’s scheduling order, ECF # 38, Plaintiffs’ Motion to Certify a Class (if any)

was due on February 1, 2023. Plaintiffs did not file a class certification motion. In accordance

with the Court Ordered dispositive motion deadline, the County filed a Renewed Motion to Strike

Class Allegations, ECF # 52. In effect, the County sought a judicial determination that this case

cannot proceed as a class action.




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 The body of Plaintiffs’ Notice of Dismissal of Class Claims Only does not indicate whether the
notice is sought With or Without Prejudice, however, the filing of the Motion cites Fed. Civ.
Rule 41(a)(1). To the extent that the Court permitted Plaintiffs to dismiss the class allegations
through the non-documented order dated February 21, 2023, Defendants respectfully request
clarification of that order for the reasons outlined herein to expressly order the claims dismissed
with prejudice, or in the alterative rule on Defendant’s pending Motion to Strike Class
Allegation. ECF # 52
                                                 1
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        The Court held a telephone status conference on February 13, 2023, to discuss the status

of the class allegations and other topics. At that conference, for the first time, Plaintiffs indicated

that they no longer intended pursue a class action. Defendants requested that the Court issue an

order to that effect. By non-document order dated February 14, 2023, the Court directed Plaintiffs

dismiss the class allegations by February 17, 2023.

        On February 17, 2023, “Plaintiffs’ Notice of Dismissal of Class Claims Only,” ECF # 56.

Although the filing itself is ambiguous on this point, the entry on the Court’s docket indicates that

the dismissal is filed pursuant to Fed.R.Civ.P. 41(a)(1). While Defendants agree that the class

allegations must be dismissed, it is necessary to make the following two procedural points in

response to Plaintiffs’ filing.

        First, Fed.R.Civ.P. 41 permits the dismissal of entire actions, not individual claims or

parties. Internatl. Watchman v. Oncewill, N.D.Ohio No. 1:20cv2290, 2021 U.S. Dist. LEXIS

196553, at *3 (Feb. 2, 2021), citing Philip Carey Mfg. Co. v. Taylor, 286 F.2d 782, 785 (6th Cir.

1961). Fed.R.Civ.P. 21 is the proper vehicle to drop individual claims or parties. Id. But

Fed.R.Civ.P. 21 requires a court order and “just terms.”

        Second, Fed.R.Civ.P. 41(a)(1) does not permit a party to unilaterally dismiss anything after

an answer or a motion for summary judgment has been filed. Instead, Plaintiffs require a

stipulation or a Court order “on terms the court considers proper.” Fed.R.Civ.P. 41(a)(2).

        Critically, Plaintiffs’ filing is ambiguous about whether they intend to dismiss the class

allegations with or without prejudice. And a dismissal under Rule 41(a)(1) is generally presumed

to be without prejudice. Fed.R.Civ.P. 41(a)(1)(B).

        Defendants respectfully request that the class allegations be dismissed by Court order and

with prejudice. To permit otherwise would unfairly prejudice the County by permitting Plaintiffs



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to possibly resurrect their class allegations after choosing not to pursue these allegations for over

two years. See: Dunlap v. Sevier Cty., 6th Cir. No. 20-6216, 2021 U.S. App. LEXIS 21961, at *19

(July 23, 2021), citing Grover by Grover v. Eli Lilly & Co., 33 F.3d 716, 718 (6th Cir. 1994)

(requiring an entire action to be dismissed with prejudice under similar circumstances).

       Defendants respectfully request that Plaintiffs’ class allegations be stricken or dismissed

with prejudice to refiling.



                                              Respectfully submitted,
                                              MICHAEL C. O’MALLEY, Prosecuting
                                              Attorney of Cuyahoga County, Ohio

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                                              Randy Pritchett




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                  CERTIFICATION OF COMPLIANCE WITH L. R. 7.1(f)

       This memorandum is seven (3) pages long (not including this certificate). This

memorandum complies with L.R. 7.1(f).

                                                       /s/ Michael J. Stewart
                                                       MICHAEL J. STEWART (0082257)
                                                       Assistant Prosecuting Attorney



                                  CERTIFICATE OF SERVICE

       I certify that on the February 21, 2023, a copy of the foregoing was filed electronically. Notice

of this filing will be sent to all registered parties by operation of the Court’s electronic filing system.

Parties may access this filing through the Court’s system.



                                                       /s/ Michael J. Stewart
                                                       MICHAEL J. STEWART (0082257)
                                                       Assistant Prosecuting Attorney




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